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IN THE UNITED STATES DISTRICT COURT F l L E D
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
FF_B 2 ‘? 2004
GEORGE BUTLER, § m\cHAEL w. DOBB»\NS
Plaintiff ) cLERK. u.s. D\sTR\cT coum
)
"' ) NO. 03 o 4786
)

OFFICERS CATERINO, RENE ESPERICUETA, )
#4490, ALEX ERRUM, #15413, GARZA, #13251 ) MAGISTRATE JUDGE KEYS
LEOPOLDO MORALES, #4779, JOSEPH )

 

 

O’CONNOR, EDWARD PAKULA, #18787, )
HENRY PEREZ, JOHN DOE, JOHN MOE ) m;m?
AND THE eer oF cHICAGo, ) §§§§§§ § §§
A MUNICIPAL CORPORATION ) ' `
> mAR 0 1 2004
Defendants. )
AMENDED COMPLAINT

1. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

U.S.C. 1983 and 1988; 28 U.S.C. 1331 and 1343(3); and the Constitution of the United

States, and supplemental jurisdiction under 28 U.S.C. Section 1367.
PARTIES

2. Plaintiff George Butler, is an African-American male and citizen of the United
States, and resident of Chicago, lllinois.

3. Defendant Officer Caterino, is a police officer employed by the City of Chicago,
and was at all times relevant to the facts alleged in this complaint, acting within the scope
of their employment and under color of law. Defendant Officer Rene Espericueta is
being sued individually

4. Defendant Officer Rene Espericueta, Star# 4490, is a police officer employed by

the City of Chicago, and Was at all times relevant to the facts alleged in this complaint,

 

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acting within the scope of their employment and under color of law. Defendant Officer
Rene Espericueta is being sued individually

5_ Defendant Officer Alex Errum, Star# 15413, are police officers employed by the
City of Chicago, and Was at all times relevant to the facts alleged in this complaint, acting
Within the scope of their employment and under color of law. Defendant Officer Alex
Errum is being sued individually

6. Defendant Officer Garza, Star# 13251, are police officers employed by the City of
Chicago, and was at all times relevant to the facts alleged in this complaint, acting within
the scope of their employment and under color of law. Defendant Officer Garza is being
sued individually

7. Defendant Officer Leopoldo Morales, Star #4779 are police officers employed by
the City of Chicago, and was at all times relevant to the facts alleged in this complaint,
acting within the scope of their employment and under color of law. Defendant Officer
Morales is being sued individually

8. Defendant Officer Joseph O’Connor, are police officers employed by the City of
Chicago, and was at all times relevant to the facts alleged in this complaint, acting within
the scope of their employment and under color of law. Defendant Officer Joseph
O’Connor is being sued individually

9. Defendant Officer Edward Pakula, are police officers employed by the City of
Chicago, and was at all times relevant to the facts alleged in this complaint, acting within
the scope of their employment and under color of law. Defendant Officer Edward Pakula
is being sued individually

lO. Defendant Officer Henry Perez, are police officers employed by the City of
Chicago, and was at all times relevant to the facts alleged in this complaint, acting within
the scope of their employment and under color of law. Defendant Officer Henry Perez is

being sued individually

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ll. The City of Chicago, is a municipal corporation within the State of Illinois, and
was at all times material to this Complaint, the employer of defendant police officers

Errum, Espericueta, Garza, Pakula, Perez, Morales and O’Connor.

FACTS

 

12. On March 18, 2003, in the evening, Plaintiff George Butler was out with his
friends and acquaintances driving in the area of 18th and Ashland in Chicago,
lllinois.

l3. While they were driving, passengers of an unknown vehicle threw an object at the
vehicle in which George was a passenger. The driver of that vehicle began to
pursue the unknown vehicle.

14. Eventually, defendant officers observed this pursuit and ordered the driver to stop
his vehicle and all occupants to exit the vehicle. They all complied, including
Plaintiff George Butler.

15. After defendant officers observed that the passengers of the vehicle, they yelled
racial epithets and the like at them.

16. Next, defendant Officers arrested the driver of the vehicle and then ordered
George and his friends to leave the area on foot. In doing so, the defendant
officers laughed and stated George and his friends would be left to the mercy of
the gang members in the area.

l7. Frightened by the defendant officer’s remarks, George attempted telephone his
mother to ask her for a ride home. Also, he informed the defendant officers that

he was frightened and unfamiliar with the area.

 

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18. At that time, defendant officers without justification or provocation began to beat
George. The defendant officers repeatedly slammed George’s head against a
brick wall and beat him about his body with a night stick.

19. Eventually, George and his friend made it to a gas station in the area. Shortly
after arriving at the gas station, George collapsed and had a seizure

20. George was rushed to the hospital and was treated for multiple injuries

COUNT I
(42 U.S.C. SECTION 1983-EXCESSIVE FORCE CLAIM)

l-20 Plaintiff alleges and realleges paragraphs l through 20 as fully set forth
above.

21. As a result of the unreasonable and unjustifiable attack on George Butler, he
suffered both physical and emotional injuries

22. This unreasonable and unjustifiable beating of the Plaintiff George Butler by
defendant officers Errum, Espericueta, Garza, Pakula, Perez, Morales and O’Connor was
a direct and proximate cause of his pain, suffering and mental anguish. This act by the
above individual Defendants violated the Plaintiff s Fourth Amendment right to be free
from unreasonable seizures, in addition to a violation of 42 U.S-C. § 1983.

WHEREFORE, Plaintiff demand $50,000 in compensatory damages against
Defendant Police Officers because the Defendants acted maliciously, willfully and/or
wantonly, $30,000 individually in punitive damages, plus cost, attorney’s fees, and such

other additional relief as this Court deems equitable and just.

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(42 U.s.C. sECTloN 1983-1LLEGAL DETENTIO§)

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l-20. Plaintiff George Butler alleges and realleges paragraphs l through 20 as
full set forth herein.

21. The above acts of the Defendant Officers Errum, Espericueta, Garza, Pakula,
Perez, Morales and O’Connor were willfully and wantonly done without probable cause
and was a direct and proximate cause of George Butler pain, suffering and mental
anguish, and therefore violated the Plaintiff’ s Forth Amendment right to be free from

unreasonable arrest, search and seizure.

WHEREFORE, Plaintiff George Butler seeks $25,000 in actual or compensatory
damages against Defendant Officers Errum, Espericueta, Garza, Pakula, Perez, Morales
and O’Connor individually and because they acted maliciously Willfully and/or
wantonly, $15,000 in punitive damages against Officers Errum, Espericueta, Garza,

Pakula, Perez, Morales and O’Connor individually

COUNT III
(SUPPLEMENTAL STATE CLAIM FOR ASSAULT AND BATTERY)

1-20. Plaintiff George Butler alleges and realleges paragraphs l through 20 as
though fully set forth herein.

21. The acts of the Defendant Officers Errum, Espericueta, Garza, Pakula,
Perez, Morales and O’Connor, described above, were done maliciously, willfully and
wantonly and with such reckless disregard for their natural consequences as to constitute
assault and battery under the laws and Constitution of the State of lllinois, and did
directly and proximately cause the injuries, pain and suffering of the Plaintiff as alleged
above.

WHEREFORE, Plaintiff demands judgment against each Defendant Officers

Errum, Espericueta, Garza, Pakula, Perez, Morales and O’Connor, individually an the

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21. The aforesaid acts of Defendant Officers Errum, Espericueta, Garza,
Pakula, Perez, Morales and O’Connor, in beating and illegal detaining George Butler
were done within the scope of their employment as Chicago police officers, were willful
and wanton, and therefore the defendant City of Chicago, as principal, is liable for the
actions of its agents under the doctrine of respondent superior.

WHEREFORE, Plaintiff George Butler demand judgment against defendant

City Of Chicago plus costs, and such other additional relief as this Court deems equitable

and just.

PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS.

Respectfully Submitted,

 

'tandish E. Willis
Attorney for Plaintiff

Dated: 02/24/04

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